
ORDER
NIES, Circuit Judge.
All appellants in Docket No. 88-1206, which is part of the above captioned consolidated appeal, move this court under Federal Rules of Appellate Procedure 42(b) to dismiss their appeal docketed as No. 88-1206.
That request is based upon P.L. No. 100-466, signed into law by the President on September 27, 1988. That law provides, in part, for the appropriation of $90 million over a five year period for the purpose of funding the Resettlement Trust Fund for the People of Bikini. That fund was established under P.L. No. 97-257. Payment of the funds is conditioned, in part, on the voluntary dismissal with prejudice of Appeal No. 88-1206, by the People of Bikini.
Upon consideration of the motion, and because there is no opposition to the motion,
IT IS HEREBY ORDERED THAT:
(1) Appeal No. 88-1206 is dismissed with prejudice.
(2) Both parties shall bear their own costs.
(3) Any further fees due to this court in connection with Appeal No. 88-1206 shall be paid by appellants in that appeal.
